Case 5:21-cv-00255-EEF-MLH Document 17 Filed 06/25/21 Page 1 of 2 PageID #: 148




                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF LOUISIANA
                                    SHREVEPORT DIVISION

  ASCENTIUM CAPITAL LLC,                             *    CIVIL ACTION NO. 5:21-cv-00255
             Plaintiff,
  v.                                                 *    JUDGE ELIZABETH E. FOOTE
  DIGITAL SIGN SOLUTIONS LLC and
  ARVIN WADDLES,                                     *    MAGISTRATE MARK L. HORNSBY
             Defendants.

                               MOTION FOR DEFAULT JUDGMENT

            Plaintiff, Ascentium Capital LLC (“Ascentium”), respectfully files this Motion for Default

 Judgment (the “Motion”) and, for the reasons set forth in the Memorandum in Support filed

 contemporaneously herewith, respectfully asks the Court to render a default judgment against

 defendants, Digital Sign Solutions LLC (“DSS”) and Arvin Waddles (“Waddles,” and collectively

 with DSS, “Defendants”), as authorized by Rule 55(b)(2) of the Federal Rules of Civil Procedure.

 Defendants have failed to plead, answer, or otherwise defend the claims advanced by Ascentium

 herein, thus Ascentium seeks a final default judgment against Defendants, in solido, on Count I

 (fraud), Count II (conversion), and Count V (Detrimental Reliance) of the Complaint, as amended,

 the “Amended Complaint” in the amount of FIVE HUNDRED AND TWENTY-FIVE

 THOUSAND THREE-HUNDRED AND NINE DOLLARS AND FIFTY CENTS ($525,309.50);

 plus prejudgment interest at the legal rate calculated from February 1, 2021 through entry of a

 judgment herein; plus post judgment interest calculated at the legal rate until the judgment is paid

 in full.

            WHEREFORE, Plaintiff, Ascentium Capital LLC, respectfully requests that the Court

 enter the default judgment against defendants, Digital Sign Solutions LLC (“DSS”) and Arvin

 Waddles (“Waddles,” and collectively with DSS, “Defendants”) in solido, on Count I (fraud),

 Count II (conversion), and Count V (Detrimental Reliance) of the Amended Complaint in the total
Case 5:21-cv-00255-EEF-MLH Document 17 Filed 06/25/21 Page 2 of 2 PageID #: 149




 amount of FIVE HUNDRED AND TWENTY-FIVE THOUSAND THREE-HUNDRED AND

 NINE DOLLARS AND FIFTY CENTS ($525,309.50); plus prejudgment interest at the legal rate

 calculated from February 1, 2021 through entry of a judgment herein; plus post judgment interest

 calculated at the legal rate until the judgment is paid in full. Alternatively, Ascentium respectfully

 requests an evidentiary hearing to determine damages.

                                                       RESPECTFULLY SUBMITTED

                                                       /s/ Lacey E. Rochester
                                                       Jan M Hayden (#06672)
                                                       Lacey E. Rochester (#34733)
                                                       BAKER, DONELSON, BEARMAN,
                                                       CALDWELL & BERKOWITZ, P.C.
                                                       201 St. Charles Ave, Suite 3600
                                                       New Orleans, LA 70170
                                                       T: (504) 566-5200
                                                       E: lrochester@bakerdonelson.com

                                                       /s/ Kevin A. Stine*
                                                       Kevin A. Stine (Ga Bar No. 682588) (T.A.)
                                                       BAKER, DONELSON, BEARMAN,
                                                       CALDWELL & BERKOWITZ, P.C.
                                                       3414 Peachtree Rd, NE, Suite 1500
                                                       Atlanta, GA 30326
                                                       T: (404) 577-6000
                                                       E: kstine@bakerdonelson.com
                                                       *admitted pro hac vice

                                                       Counsel for Plaintiff




                                                   2
